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              EXHIBIT A
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                  IN THE CIRCUIT COURT OF THE THIRTEEN JUDICIAL CIRCUIT
                        IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                       CIVIL DIVISION

             CARLOS MIRANDA,

                    Plaintiff,
                                                             Case No.:
             v.
                                                             Division:
             HARBOR FREIGHT TOOLS
             USA, INC.,

                  Defendant.
             ________________________/

                                                 COMPLAINT

                    Plaintiff sues defendant and alleges:

                    1.     This is a cause of action for damages in excess of $30,000,

             exclusive of attorneys’ fees and costs.

                    2.     Defendant is now, and at all times material mentioned in this

             complaint was, engaged in the selling to the general public of Franklin

             Brand Multi-Task Ladders, model number 63417 (“ladder”).

                    3.     Plaintiff purchased the ladder from defendant’s Fletcher Avenue

             store in Hillsborough County, Florida in February of 2018.

                    4.     On or about April 3, 2019, the plaintiff, while using the ladder as

             it was meant to be used, was injured when the feet of the ladder slid

             causing the ladder and the plaintiff to fall from a height.


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                                          COUNT I-NEGLIGENCE

                    5.     This is a cause of action for common law negligence.

                    6.     The allegations of paragraphs 1 through 4 are specifically re-

             alleged herein.

                    7.     The Defendant, as the retailer of the ladder, owed a duty to sell

             products fit for their intended use, free of defects, and to warn purchasers

             any defects in those products as they become known.

                    8.     The Defendant breached the duties owed to the Plaintiff by: 1)

             failing to warn, or adequately warn, the public, including the plaintiff, that

             ladder could slide and cause a fall from a height; 2) failing to warn or

             adequately warn the public, including the plaintiff of the risks associated

             with the ladder; and 3) failing to otherwise exercise due care with respect to

             the warning and sale of the ladder or the to conduct proper inspection of

             the ladder for defects prior to selling the product to the public.

                    9.     As a direct and proximate result of the negligence of the

             defendant, plaintiff suffered bodily injury and resulting pain and suffering,

             disability, mental anguish, lost capacity for the enjoyment of life, the expense of

             hospitalization and medical care and treatment, aggravation of pre-existing

             injuries, lost wages, and impaired earning capacity. These losses are permanent

             and continuing in nature and plaintiff will suffer these losses in the future.


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                    WHEREFORE, Plaintiff demands judgment against defendant for

             damages, costs of suit, interest, and any other relief that the court deems just and

             proper. Plaintiff hereby demands trial by jury on all issues so triable.

                                        COUNT II—STRICT LIABILITY

                    10.    This is a cause of action for strict products liability.

                    11.    The allegations of paragraphs 1 through 4 are specifically re-alleged

             herein.

                    12.    The above-described ladder sold to the plaintiff by the defendant

             contain a defect or defects that made it unreasonably dangerous (including failure

             to warn and inadequate warnings) when used in the manner and for the purpose

             for which it was intended, such that the feet of the ladder were subject to sliding

             causing the ladder to fall and injuring users without notice during its normal use.

                    13.    At the time defendant sold the above-described ladder, defendant

             knew that users of the ladder would not inspect it for defects, or that the defects

             were such that a user of this type of ladder could not have discovered them upon

             reasonable inspection.

                    14.    On or about April 3, 2019, while plaintiff was using the ladder in the

             normal and customary manner, the ladder slid causing the Plaintiff to fall from a

             height.




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                    15.    As a direct and proximate result of the defect or defects

             manufactured and introduced into the stream of commerce by defendant, plaintiff

             suffered bodily injury and resulting pain and suffering, disability, mental anguish,

             lost capacity for the enjoyment of life, the expense of hospitalization and medical

             care and treatment, aggravation of pre-existing injuries, lost wages, and impaired

             earning capacity. These losses are permanent and continuing in nature and

             plaintiff will suffer these losses in the future.

                    WHEREFORE, Plaintiff demands judgment against defendant for

             damages, costs of suit, interest, and any other relief that the court deems just and

             proper. Plaintiff hereby demands trial by jury on all issues so triable.

                                    COUNT III—BREACH OF WARRANTY

                    16.    This is a cause of action for breach of warranty.

                    17.    At all times material, the defendant executed an express warranty to

             plaintiff whereby defendant expressly warranted the ladder sold to the plaintiff to

             be free of defects of the type that would cause the ladder to slide and fall.

                    18.    The plaintiff was in privity of contract with the defendant as

             beneficiaries of the express warranty. Said express warranty was delivered to the

             plaintiff as part of the sale of the ladder and was consideration for the sale of the

             ladder. Plaintiff does not have possession of the express warranty, the express

             warranty is available to the defendant, and one will be obtained in discovery.


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                    19.    The defendant sold the Plaintiff the ladder in a condition not fit for

             ordinary use, that is to say, that the ladder was subject to sliding when weight was

             applied, causing a user to fall from a height.

                    20.    The plaintiff was the original purchaser of the ladder which is the

             subject of this suit.

                    21.    The defendant impliedly warranted that the ladder was fit for the

             purposes for which it was manufactured and that it was merchantable.

                    22.    The defendant breached the express and implied warranties when it

             sold and delivered to the plaintiff the ladder in a defective and dangerous

             condition, as described above.

                    23.    The defendant has been notified of the plaintiff’s intent to rely upon all

             applicable warranties, both express and implied. Defendant has denied payment

             under those warranties, which constitute a breach of warranty.

                    24.    As a direct and proximate result of the defendant’s breach of the

             express and implied warranties, the plaintiff suffered damages, including bodily

             injury and resulting pain and suffering, disability, mental anguish, lost capacity for

             the enjoyment of life, the expense of hospitalization and medical care and

             treatment, aggravation of pre-existing injuries, lost wages, and impaired earning

             capacity and property damage. These losses are permanent and continuing in

             nature and plaintiff will suffer these losses in the future.


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                    WHEREFORE, Plaintiff demands judgment against defendant for

             damages, costs of suit, interest, and any other relief that the court deems just and

             proper. Plaintiff hereby demands trial by jury on all issues so triable.



                                               /s/Michael V. Laurato
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